B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                      Eastern District of Michigan                                                                              Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                              Name of Joint Debtor (Spouse) (Last, First, Middle):
  Iott, Kevin Roland                                                                                        Iott, Laura Sue


All Other Names used by the Debtor in the last 8 years                                                   All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                              (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                        Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                            (if more than one, state all)
  xxx-xx-2634                                                                                               xxx-xx-2643
Street Address of Debtor (No. and Street, City, and State):                                              Street Address of Joint Debtor (No. and Street, City, and State):
  5670 Sylvania Petersburg                                                                                  5670 Sylvania Petersburg
  Petersburg, MI                                                                                            Petersburg, MI
                                                                                        ZIP Code                                                                                      ZIP Code
                                                                                      49270                                                                                        49270
County of Residence or of the Principal Place of Business:                                               County of Residence or of the Principal Place of Business:
  Monroe                                                                                                    Monroe
Mailing Address of Debtor (if different from street address):                                            Mailing Address of Joint Debtor (if different from street address):


                                                                                        ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                        Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                      (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                   Chapter 7
                                                                Single Asset Real Estate as defined                    Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                              Chapter 11
                                                                Railroad
                                                                                                                       Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                       Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                              Nature of Debts
    check this box and state type of entity below.)                                                                                                 (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                    "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                              Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                    Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                         Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                                to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                         Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                              A plan is being filed with this petition.
                                                                                                                Acceptances of the plan were solicited prepetition from one or more
                                                                                                                classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                               THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-         5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000         10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001    $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10        to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million       million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001    $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10        to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million       million        million       million
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B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Iott, Kevin Roland
(This page must be completed and filed in every case)                                   Iott, Laura Sue
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Iott, Kevin Roland
(This page must be completed and filed in every case)                                       Iott, Laura Sue
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                           Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Kevin Roland Iott                                                                X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Kevin Roland Iott

 X    /s/ Laura Sue Iott                                                                       Printed Name of Foreign Representative
     Signature of Joint Debtor Laura Sue Iott
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     March 19, 2009
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Kenneth A. Nathan
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Kenneth A. Nathan P39142                                                                 debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Nathan Zousmer, P.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      29100 Northwestern Hwy., Suite 260
      Southfield, MI 48034                                                                     Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (248) 351-0099 Fax: (248) 351-0487
     Telephone Number
     March 19, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
  In re          Kevin Roland Iott,                                                                                   Case No.
                 Laura Sue Iott
                                                                                                                ,
                                                                                               Debtors                Chapter                      7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES                OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  248,000.00


B - Personal Property                                             Yes                 4                   16,733.00


C - Property Claimed as Exempt                                    Yes                 2


D - Creditors Holding Secured Claims                              Yes                 1                                         329,568.00


E - Creditors Holding Unsecured                                   Yes                 1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 4                                     1,557,870.26
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 3


I - Current Income of Individual                                  Yes                 1                                                                   4,478.25
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                   4,390.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            19


                                                                                Total Assets             264,733.00


                                                                                                 Total Liabilities          1,887,438.26




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                                                                                                                                              Best Case Bankruptcy
Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
  In re           Kevin Roland Iott,                                                                             Case No.
                  Laura Sue Iott
                                                                                                             ,
                                                                                          Debtors                Chapter                    7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                     Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                                 TOTAL


              State the following:

              Average Income (from Schedule I, Line 16)


              Average Expenses (from Schedule J, Line 18)

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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 In re        Kevin Roland Iott,                                                                            Case No.
              Laura Sue Iott
                                                                                                ,
                                                                                Debtors
                                                   SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                     Nature of Debtor's         Wife,     Debtor's Interest in              Amount of
              Description and Location of Property                   Interest in Property       Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

5670 Sylvania Petersburg                                             Fee simple                     J                  245,000.00                294,897.00
Petersburg, MI 49270

Carribean Palm Village                                               Time Share                     J                     3,000.00                       0.00




                                                                                                 Sub-Total >           248,000.00          (Total of this page)

                                                                                                        Total >        248,000.00
 0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re          Kevin Roland Iott,                                                                                     Case No.
                 Laura Sue Iott
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              Cash on hand                                                      J                         200.00

2.     Checking, savings or other financial                      United Bank & Trust, Dundee, MI                                   J                         800.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Misc. household items                                             J                       1,600.00
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                             General Items                                                     J                         200.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                      X

7.     Furs and jewelry.                                         Costume jewelry, wedding rings, engagement ring,                  W                         520.00
                                                                 fur

8.     Firearms and sports, photographic,                        7mm digital camera                                                J                         400.00
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >           3,720.00
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Kevin Roland Iott,                                                                                     Case No.
                 Laura Sue Iott
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                          33% - Posey Lake Estates, LLC                                     J                            1.00
    and unincorporated businesses.
    Itemize.                                                     Iott Tomato Farms, LLC (shut down)                                J                            1.00

14. Interests in partnerships or joint                           Coca Cola - 10 shares                                             J                         100.00
    ventures. Itemize.

15. Government and corporate bonds                               EE Bonds (9 @ $50 bonds)                                          W                         450.00
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                         Posey Lake Estates, LLC                                           J                            1.00

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                   Sub-Total >             553.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
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B6B (Official Form 6B) (12/07) - Cont.




  In re          Kevin Roland Iott,                                                                                     Case No.
                 Laura Sue Iott
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           1995 Dodge Intrepid                                               W                         800.00
    other vehicles and accessories.
                                                                 1995 Chevy Truck 4x4                                              H                         200.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                          J. Deere 5303 Tractor                                             H                       9,400.00
    supplies used in business.
                                                                 Miscellaneous tools                                               H                         100.00

                                                                 J.D. Lawn Mower                                                   H                         200.00

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                          5 cemetery lots                                                   J                       1,500.00
    not already listed. Itemize.
                                                                 Bicycle                                                           J                          10.00


                                                                                                                                   Sub-Total >          12,210.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
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 In re         Kevin Roland Iott,                                                                            Case No.
               Laura Sue Iott
                                                                                                 ,
                                                                                Debtors
                                               SCHEDULE B - PERSONAL PROPERTY
                                                                       (Continuation Sheet)

                                                 N                                                                  Husband,        Current Value of
              Type of Property                   O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                 N                                                                   Joint, or   without Deducting any
                                                 E                                                                 Community Secured Claim or Exemption
                                                     Gas Grill                                                           J                         100.00

                                                     Torches                                                             J                         150.00

                                                     Potential Tax Refund                                                J                      Unknown




                                                                                                                        Sub-Total >              250.00
                                                                                                            (Total of this page)
                                                                                                                             Total >          16,733.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                    (Report also on Summary of Schedules)
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   In re          Kevin Roland Iott                                                                                      Case No.
                                                                                                                ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of            Current Value of
                    Description of Property                                               Each Exemption                       Claimed             Property Without
                                                                                                                              Exemption          Deducting Exemption
Books, Pictures and Other Art Objects; Collectibles
General Items                                       11 U.S.C. § 522(d)(5)                                                             200.00                   200.00

Stock and Interests in Businesses
33% - Posey Lake Estates, LLC                                                    11 U.S.C. § 522(d)(5)                                    1.00                   1.00

Iott Tomato Farms, LLC (shut down)                                               11 U.S.C. § 522(d)(5)                                    1.00                   1.00

Interests in Partnerships or Joint Ventures
Coca Cola - 10 shares                                                            11 U.S.C. § 522(d)(5)                                100.00                   100.00

Accounts Receivable
Posey Lake Estates, LLC                                                          11 U.S.C. § 522(d)(5)                                    1.00                   1.00

Automobiles, Trucks, Trailers, and Other Vehicles
1995 Chevy Truck 4x4                                                             11 U.S.C. § 522(d)(5)                                200.00                   200.00

Machinery, Fixtures, Equipment and Supplies Used in Business
J. Deere 5303 Tractor                            11 U.S.C. § 522(d)(2)                                                              3,225.00                 9,400.00
                                                 11 U.S.C. § 522(d)(5)                                                              6,175.00

Miscellaneous tools                                                              11 U.S.C. § 522(d)(5)                                100.00                   100.00

J.D. Lawn Mower                                                                  11 U.S.C. § 522(d)(5)                                200.00                   200.00




                                                                                                                Total:             10,203.00                10,203.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          Laura Sue Iott                                                                                         Case No.
                                                                                                                ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of           Current Value of
                    Description of Property                                               Each Exemption                       Claimed            Property Without
                                                                                                                              Exemption         Deducting Exemption
Real Property
Carribean Palm Village                                                           11 U.S.C. § 522(d)(5)                              3,000.00                 3,000.00

Cash on Hand
Cash on hand                                                                     11 U.S.C. § 522(d)(5)                                200.00                   200.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
United Bank & Trust, Dundee, MI                   11 U.S.C. § 522(d)(5)                                                               800.00                   800.00

Household Goods and Furnishings
Misc. household items                                                            11 U.S.C. § 522(d)(3)                              1,600.00                 1,600.00

Furs and Jewelry
Costume jewelry, wedding rings, engagement                                       11 U.S.C. § 522(d)(4)                                520.00                   520.00
ring, fur

Firearms and Sports, Photographic and Other Hobby Equipment
7mm digital camera                              11 U.S.C. § 522(d)(5)                                                                 400.00                   400.00

Government & Corporate Bonds, Other Negotiable & Non-negotiable Inst.
EE Bonds (9 @ $50 bonds)                        11 U.S.C. § 522(d)(5)                                                                 450.00                   450.00

Automobiles, Trucks, Trailers, and Other Vehicles
1995 Dodge Intrepid                                                              11 U.S.C. § 522(d)(2)                                800.00                   800.00

Other Personal Property of Any Kind Not Already Listed
5 cemetery lots                                   11 U.S.C. § 522(d)(5)                                                             1,500.00                 1,500.00

Bicycle                                                                          11 U.S.C. § 522(d)(5)                                 10.00                    10.00

Gas Grill                                                                        11 U.S.C. § 522(d)(5)                                100.00                   100.00

Torches                                                                          11 U.S.C. § 522(d)(5)                                150.00                   150.00

Potential Tax Refund                                                             11 U.S.C. § 522(d)(5)                                 100%                Unknown




                                                                                                                Total:              9,530.00                 9,530.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          Kevin Roland Iott,                                                                                               Case No.
                  Laura Sue Iott
                                                                                                                      ,
                                                                                                     Debtors
                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                                 B   W            NATURE OF LIEN, AND                           I    Q   U                        PORTION, IF
                                                                T   J          DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF            ANY
             (See instructions above.)
                                                                    C               OF PROPERTY
                                                                R
                                                                                   SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. xxx-xxxx-x3251                                              Auto Loan                                                   E
                                                                                                                                    D

GMAC                                                                    2008 Chevy Malibu
P.O. Box 9001951
Louisville, KY 40290-1951
                                                                    J

                                                                         Value $                               17,500.00                         22,000.00            4,500.00
Account No. xxxxxxxx6000                                                First Mortgage

Greenstone FCS                                                          5670 Sylvania Petersburg
15615 S. Telegraph Road                                                 Petersburg, MI 49270
Monroe, MI 48161
                                                                    J

                                                                         Value $                           245,000.00                           235,057.00                 0.00
Account No. xx-xxxxx2634                                                Tractor Loan

John Deere Credit                                                       John Deere Tractor 5303
P.O. Box 6600
Johnston, IA 50131-6600
                                                                    J

                                                                         Value $                                9,400.00                         12,671.00            3,271.00
Account No.                                                             Second Mortgage

Monroe Bank & Trust                                                     5670 Sylvania Petersburg
102 E. Front Street                                                     Petersburg, MI 49270
Monroe, MI 48161
                                                                    J

                                                                         Value $                           245,000.00                            59,840.00                 0.00
                                                                                                                            Subtotal
 0
_____ continuation sheets attached                                                                                                              329,568.00            7,771.00
                                                                                                                   (Total of this page)
                                                                                                                             Total              329,568.00            7,771.00
                                                                                                   (Report on Summary of Schedules)
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 In re         Kevin Roland Iott,                                                                                        Case No.
               Laura Sue Iott
                                                                                                             ,
                                                                                        Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                       0       continuation sheets attached
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   In re          Kevin Roland Iott,                                                                                          Case No.
                  Laura Sue Iott
                                                                                                                          ,
                                                                                                        Debtors

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. xxxx-xxxxxx-x1009                                                            2007-2008                                           T   T
                                                                                                                                                 E
                                                                                         Credit Card Purchases                                   D

American Express
P.O. Box 650448                                                                      J
Dallas, TX 75265-0448

                                                                                                                                                                          626.00
Account No. ending in 3570                                                               2006-2007-2008
                                                                                         Credit card purchases
Cabelas Club Visa
P.O. Box 82575                                                                       J
Lincoln, NE 68501-2575

                                                                                                                                                                      18,579.00
Account No. xxxx-xxxx-xxxx-1462                                                          2007-2008
                                                                                         Credit card purchases
Chase Visa
Cardmember Service                                                                   J
P.O. Box 94014
Palatine, IL 60094-4014
                                                                                                                                                                      10,140.00
Account No.                                                                              11/3/08
                                                                                         Medical
Consultants Lab
3170 W. Cantrol                                                                      J
Toledo, OH 43606

                                                                                                                                                                          225.37

                                                                                                                                           Subtotal
 3
_____ continuation sheets attached                                                                                                                                    29,570.37
                                                                                                                                 (Total of this page)




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   In re          Kevin Roland Iott,                                                                                          Case No.
                  Laura Sue Iott
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

Consumers Energy
Lansing, MI 48937-0001                                                           X J



                                                                                                                                                                     98.78
Account No.

Fifth Third Bank
c/o Laurie J. Pangle                                                             X J                                                         X X X
Spengler Nathanson
Four SeaGate, Suite 400
Toledo, OH 43604-2622                                                                                                                                         1,300,000.00
Account No. xxxxx8716                                                                    4/4/08
                                                                                         Medical
Flower Hospital
1801 Richard Road                                                                    J
Toledo, OH 43607

                                                                                                                                                                    174.00
Account No.                                                                              Sewer - Posey Lake Estates, LLC

Hudson Township
08755 Huffman Lake Road                                                          X J
Elmira, MI 49730

                                                                                                                                                                    271.90
Account No. xxx7985                                                                      Equipment Lease

Key Equipment Finance
Apex Commercial, LLC                                                                 J
1120 W. Lake Cook Road
Suite A
Buffalo Grove, IL 60089                                                                                                                                         12,943.00

           1
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                              1,313,487.68
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                                                                                                                                                     Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Kevin Roland Iott,                                                                                          Case No.
                  Laura Sue Iott
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

King, Patrick
Kerr, Roxanne                                                                    X J                                                         X X X
25360 Birchwood Dr.
Novi, MI 48374
                                                                                                                                                               100,000.00
Account No.                                                                              Balance of 2007 Summer Property Taxes
                                                                                         2008 Summer Property Tax
Lenawee County Treasurer                                                                 Posey Lake Estates, LLC
301 N. Main Street                                                               X J
Old Courthouse
1st Floor
Adrian, MI 49221                                                                                                                                                  2,606.21
Account No.                                                                              2008 Winter Property Tax
                                                                                         Posey Lake Estates, LLC
Lenawee County Treasurer
301 N. Main Street                                                               X J
Old Courthouse
1st Floor
Adrian, MI 49221                                                                                                                                                  3,858.00
Account No. xxxxxxxx9-001                                                                11/3/08
                                                                                         Medical
Toledo Hospital
P.O. Box 630346                                                                      J
Cincinnati, OH 45263-0346

                                                                                                                                                                  4,206.00
Account No.                                                                              11/3/08
                                                                                         Medical
Toledo Radiological
4841 Monroe Street                                                                   J
Suite 103
Toledo, OH 43623
                                                                                                                                                                    672.00

           2
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                               111,342.21
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                                                                                                                                                     Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Kevin Roland Iott,                                                                                                Case No.
                  Laura Sue Iott
                                                                                                                           ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. xxxx-xxxx-xxxx-3416                                                          2007                                                           E
                                                                                         Credit Card                                                    D

Wells Fargo Financial Bank
P.O. Box 98791                                                                       J
Las Vegas, NV 89193-8791

                                                                                                                                                                         3,470.00
Account No.

Wettle, Brent and Heather
c/o Michael J. Spiros                                                            X J                                                                X X X
8160 Secor Road
Box 336
Lambertville, MI 48144                                                                                                                                                100,000.00
Account No.




Account No.




Account No.




           3
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                      103,470.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)           1,557,870.26


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B6G (Official Form 6G) (12/07)


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  In re             Kevin Roland Iott,                                                                          Case No.
                    Laura Sue Iott
                                                                                                      ,
                                                                                     Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Kevin Roland Iott,                                                                        Case No.
                 Laura Sue Iott
                                                                                                  ,
                                                                                     Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                          NAME AND ADDRESS OF CREDITOR

                  Larocca, Benjamin and Cynthia                                         Consumers Energy
                  5219 Jeffs Doty Road                                                  Lansing, MI 48937-0001
                  Ottawa Lake, MI 49267

                  Larocca, Benjamin and Cynthia                                         Fifth Third Bank
                  5219 Jeffs Doty Road                                                  c/o Laurie J. Pangle
                  Ottawa Lake, MI 49267                                                 Spengler Nathanson
                                                                                        Four SeaGate, Suite 400
                                                                                        Toledo, OH 43604-2622

                  Larocca, Benjamin and Cynthia                                         Hudson Township
                  5219 Jeffs Doty Road                                                  08755 Huffman Lake Road
                  Ottawa Lake, MI 49267                                                 Elmira, MI 49730

                  Larocca, Benjamin and Cynthia                                         King, Patrick
                  5219 Jeffs Doty Road                                                  Kerr, Roxanne
                  Ottawa Lake, MI 49267                                                 25360 Birchwood Dr.
                                                                                        Novi, MI 48374

                  Larocca, Benjamin and Cynthia                                         Lenawee County Treasurer
                  5219 Jeffs Doty Road                                                  301 N. Main Street
                  Ottawa Lake, MI 49267                                                 Old Courthouse
                                                                                        1st Floor
                                                                                        Adrian, MI 49221

                  Larocca, Benjamin and Cynthia                                         Lenawee County Treasurer
                  5219 Jeffs Doty Road                                                  301 N. Main Street
                  Ottawa Lake, MI 49267                                                 Old Courthouse
                                                                                        1st Floor
                                                                                        Adrian, MI 49221

                  Larocca, Benjamin and Cynthia                                         Wettle, Brent and Heather
                  5219 Jeffs Doty Road                                                  c/o Michael J. Spiros
                  Ottawa Lake, MI 49267                                                 8160 Secor Road
                                                                                        Box 336
                                                                                        Lambertville, MI 48144

                  Larocca, Randal and Kimberly                                          Consumers Energy
                  15106 Bentwood                                                        Lansing, MI 48937-0001
                  Petersburg, MI 49270

                  Larocca, Randal and Kimberly                                          Fifth Third Bank
                  15106 Bentwood                                                        c/o Laurie J. Pangle
                  Petersburg, MI 49270                                                  Spengler Nathanson
                                                                                        Four SeaGate, Suite 400
                                                                                        Toledo, OH 43604-2622




       2
               continuation sheets attached to Schedule of Codebtors
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 In re        Kevin Roland Iott,                                                                       Case No.
              Laura Sue Iott
                                                                                              ,
                                                                                Debtors
                                                        SCHEDULE H - CODEBTORS
                                                                       (Continuation Sheet)


                 NAME AND ADDRESS OF CODEBTOR                                       NAME AND ADDRESS OF CREDITOR


                 Larocca, Randal and Kimberly                                       Hudson Township
                 15106 Bentwood                                                     08755 Huffman Lake Road
                 Petersburg, MI 49270                                               Elmira, MI 49730

                 Larocca, Randal and Kimberly                                       King, Patrick
                 15106 Bentwood                                                     Kerr, Roxanne
                 Petersburg, MI 49270                                               25360 Birchwood Dr.
                                                                                    Novi, MI 48374

                 Larocca, Randal and Kimberly                                       Lenawee County Treasurer
                 15106 Bentwood                                                     301 N. Main Street
                 Petersburg, MI 49270                                               Old Courthouse
                                                                                    1st Floor
                                                                                    Adrian, MI 49221

                 Larocca, Randal and Kimberly                                       Lenawee County Treasurer
                 15106 Bentwood                                                     301 N. Main Street
                 Petersburg, MI 49270                                               Old Courthouse
                                                                                    1st Floor
                                                                                    Adrian, MI 49221

                 Larocca, Randal and Kimberly                                       Wettle, Brent and Heather
                 15106 Bentwood                                                     c/o Michael J. Spiros
                 Petersburg, MI 49270                                               8160 Secor Road
                                                                                    Box 336
                                                                                    Lambertville, MI 48144

                 Posey Lake Estates, LLC                                            Consumers Energy
                 5670 Sylvania-Petersburg Road                                      Lansing, MI 48937-0001
                 Petersburg, MI 49270

                 Posey Lake Estates, LLC                                            Fifth Third Bank
                 5670 Sylvania-Petersburg Road                                      c/o Laurie J. Pangle
                 Petersburg, MI 49270                                               Spengler Nathanson
                                                                                    Four SeaGate, Suite 400
                                                                                    Toledo, OH 43604-2622

                 Posey Lake Estates, LLC                                            Hudson Township
                 5670 Sylvania-Petersburg Road                                      08755 Huffman Lake Road
                 Petersburg, MI 49270                                               Elmira, MI 49730

                 Posey Lake Estates, LLC                                            King, Patrick
                 5670 Sylvania-Petersburg Road                                      Kerr, Roxanne
                 Petersburg, MI 49270                                               25360 Birchwood Dr.
                                                                                    Novi, MI 48374

                 Posey Lake Estates, LLC                                            Lenawee County Treasurer
                 5670 Sylvania-Petersburg Road                                      301 N. Main Street
                 Petersburg, MI 49270                                               Old Courthouse
                                                                                    1st Floor
                                                                                    Adrian, MI 49221




    Sheet    1     of 2     continuation sheets attached to the Schedule of Codebtors
                    09-48174-swr Doc 1 Filed 03/19/09
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 In re        Kevin Roland Iott,                                                                       Case No.
              Laura Sue Iott
                                                                                              ,
                                                                                Debtors
                                                        SCHEDULE H - CODEBTORS
                                                                       (Continuation Sheet)


                 NAME AND ADDRESS OF CODEBTOR                                       NAME AND ADDRESS OF CREDITOR


                 Posey Lake Estates, LLC                                            Lenawee County Treasurer
                 5670 Sylvania-Petersburg Road                                      301 N. Main Street
                 Petersburg, MI 49270                                               Old Courthouse
                                                                                    1st Floor
                                                                                    Adrian, MI 49221

                 Posey Lake Estates, LLC                                            Wettle, Brent and Heather
                 5670 Sylvania-Petersburg Road                                      c/o Michael J. Spiros
                 Petersburg, MI 49270                                               8160 Secor Road
                                                                                    Box 336
                                                                                    Lambertville, MI 48144




    Sheet    2     of 2     continuation sheets attached to the Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

          Kevin Roland Iott
 In re    Laura Sue Iott                                                                                Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                           DEBTOR                                                   SPOUSE
Occupation                          Truck Driver                                             Food Service Custodial
Name of Employer                    LaRocca Trucking                                         Summerfield School District
How long employed                   2 Years                                                  1 Year
Address of Employer                 6490 Teal Road                                           17555 Ida West Road
                                    Petersburg, MI 49270                                     Petersburg, MI 49270-9564
INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR                        SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $      2,100.00            $         1,600.00
2. Estimate monthly overtime                                                                           $          0.00            $             0.00

3. SUBTOTAL                                                                                              $         2,100.00       $         1,600.00

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $          500.24        $          162.90
     b. Insurance                                                                                        $            0.00        $            0.00
     c. Union dues                                                                                       $            0.00        $            0.00
     d. Other (Specify):       401K                                                                      $            0.00        $           25.00
                               MIP                                                                       $            0.00        $           33.61

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $          500.24        $          221.51

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         1,599.76       $         1,378.49

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $            0.00        $         1,200.00
8. Income from real property                                                                             $          300.00        $             0.00
9. Interest and dividends                                                                                $            0.00        $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $          300.00        $         1,200.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,899.76       $         2,578.49

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                     $              4,478.25
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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B6J (Official Form 6J) (12/07)

          Kevin Roland Iott
 In re    Laura Sue Iott                                                                      Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,824.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   147.00
                   b. Water and sewer                                                                       $                    20.00
                   c. Telephone                                                                             $                    98.00
                   d. Other Cell Phone                                                                      $                   110.00
3. Home maintenance (repairs and upkeep)                                                                    $                    95.00
4. Food                                                                                                     $                   300.00
5. Clothing                                                                                                 $                   220.00
6. Laundry and dry cleaning                                                                                 $                     0.00
7. Medical and dental expenses                                                                              $                    70.00
8. Transportation (not including car payments)                                                              $                   160.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                     0.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                   120.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   178.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Property Tax                                                                      $                  180.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   446.00
                   b. Other John Deere Tractor                                                              $                   272.00
                   c. Other MB&T Equity                                                                     $                   150.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 4,390.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 4,478.25
b. Average monthly expenses from Line 18 above                                                              $                 4,390.00
c. Monthly net income (a. minus b.)                                                                         $                    88.25




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B6 Declaration (Official Form 6 - Declaration). (12/07)

                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
             Kevin Roland Iott
 In re       Laura Sue Iott                                                                                                  Case No.
                                                                                             Debtor(s)                       Chapter          7


                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                        21   sheets, and that
they are true and correct to the best of my knowledge, information, and belief.

 Date       March 19, 2009                                                                    Signature:     /s/ Kevin Roland Iott
                                                                                                                                             Debtor

 Date       March 19, 2009                                                                    Signature:     /s/ Laura Sue Iott
                                                                                                                              (Joint Debtor, if any)
                                                                                                  [If joint case, both spouses must sign.]

          DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

     I, the     [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of
the partnership] of the       [corporation or partnership] named as a debtor in this case, declare under penalty of perjury that I
have read the foregoing summary and schedules, consisting of          sheets [total shown on summary page plus 1], and that
they are true and correct to the best of my knowledge, information, and belief.

 Date                                                                                         Signature:

                                                                                                              [Print or type name of individual signing on behalf of debtor]

                              [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
             Kevin Roland Iott
 In re       Laura Sue Iott                                                                                     Case No.
                                                                                             Debtor(s)          Chapter       7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $43,779.00                               2007- Income from Employment (Kevin and Laura Iott)
                           $39,447.00                               2008- Income from employment (Kevin Iott)
                           $5,792.00                                2008- Income from unemployment (Kevin Iott)
                           $16,584.00                               2008 - Income from Employment (Laura Iott)




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               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                               AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                          AMOUNT PAID            OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                         AMOUNT
                                                                                   DATES OF                               PAID OR
                                                                                   PAYMENTS/                            VALUE OF          AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                           TRANSFERS             OWING
 MB&T                                                                              25 of month                           $200.00           $59,000.00

 Greenstone FCS                                                                    1st of month                            $1,824.00      $232,000.00

 John Deere Credit                                                                 11th of month                            $272.00        $12,000.00

 Chevy Malibu                                                                      14th of month                            $446.69        $21,128.00


    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                         AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                   AMOUNT PAID            OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY                STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION                   DISPOSITION
 Brent A. Wettle and Heather                    Breach of Contract                           Monroe County Circuit Court    Pending
 Wettle vs Posey Lake
 Estates, LLC, et al
 Case No. 07-24441-CK

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 CAPTION OF SUIT                                                                             COURT OR AGENCY               STATUS OR
 AND CASE NUMBER              NATURE OF PROCEEDING                                           AND LOCATION                  DISPOSITION
 Patrick King and Roxanne                                                                    Monroe County Circuit Court   Pending
 Kerr vs. Posey Lake Estates,
 LLC et al
 Case No. 08-24994-CZ

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                   DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,            DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                    PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                        TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                           DATE OF         DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                     ORDER                 PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                          DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                        DATE OF GIFT       VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS


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               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                   DATE OF PAYMENT,                          AMOUNT OF MONEY
 NAME AND ADDRESS                                                                NAME OF PAYOR IF OTHER                  OR DESCRIPTION AND VALUE
     OF PAYEE                                                                        THAN DEBTOR                               OF PROPERTY
 Nathan Zousmer, P.C.                                                                                                   $3,000
 29100 Northwestern Highway
 Suite 260
 Southfield, MI 48034

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                       DESCRIBE PROPERTY TRANSFERRED
       RELATIONSHIP TO DEBTOR                                                   DATE                           AND VALUE RECEIVED
 RMI, LLC                                                                       Fall of 2008           Sold shares for $80,000. Paid off Monroe Bank
                                                                                                       & Trust

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)            IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,             AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                   OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                      DESCRIPTION             DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                      OF CONTENTS              SURRENDER, IF ANY




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               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                    DATE OF SETOFF                          AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                 DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                        LOCATION OF PROPERTY
 Justen Iott                                                                     Campers/RV's                            Residence
                                                                                 Stored in winter, gone in summer
 Nathan Iott                                                                     Campers/RV's                            Residence
                                                                                 Stored in winter, gone in summer

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                         NAME USED                               DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                        DATE OF              ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                          NOTICE               LAW




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    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                       DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                  LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                               DOCKET NUMBER                           STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                      NATURE OF BUSINESS         ENDING DATES
 Posey Lake Estates,                 20-375-3620                           5670 Sylvania-Petersburg     Land Development
 LLC                                                                       Road
                                                                           Petersburg, MI 49270
 Iott Tomato Farms,                  XX-XXXXXXX
 L.L.C.
 RMI, LLC                            XX-XXXXXXX                                                                                    11-1-08 ending

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




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               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                               DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                  DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION




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               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                       TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                             TAXPAYER IDENTIFICATION NUMBER (EIN)


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date March 19, 2009                                                            Signature    /s/ Kevin Roland Iott
                                                                                             Kevin Roland Iott
                                                                                             Debtor


 Date March 19, 2009                                                            Signature    /s/ Laura Sue Iott
                                                                                             Laura Sue Iott
                                                                                             Joint Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                   United States Bankruptcy Court
                                                                           Eastern District of Michigan
             Kevin Roland Iott
 In re       Laura Sue Iott                                                                                                                  Case No.
                                                                                                  Debtor(s)                                  Chapter    7



                                                               STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                  PURSUANT TO F.R.BANKR.P. 2016(b)
             The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:
1.           The undersigned is the attorney for the Debtor(s) in this case.
2.           The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
             [X]     FLAT FEE
              A.      For legal services rendered in contemplation of and in connection with this case,
                      exclusive of the filing fee paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3,000.00
              B.           Prior to filing this statement, received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. .          3,000.00
              C.           The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    0.00
             [ ]          RETAINER
              A.          Amount of retainer received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

              B.           The undersigned shall bill against the retainer at an hourly rate of $ . [Or attach firm hourly rate schedule.] Debtor(s)
                           have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

3.           $     299.00        of the filing fee has been paid.
4.           In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
             that do not apply.]
             A.           Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                          bankruptcy;
             B.           Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
             C.           Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
             D.           Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
             E.           Reaffirmations;
             F.           Redemptions;
             G.           Other:


5.           By agreement with the debtor(s), the above-disclosed fee does not include the following services:


6.           The source of payments to the undersigned was from:
              A.        XX              Debtor(s)' earnings, wages, compensation for services performed
              B.                        Other (describe, including the identity of payor)
7.           The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
             corporation, any compensation paid or to be paid except as follows:

 Dated:          March 19, 2009                                                                                          /s/ Kenneth A. Nathan
                                                                                                                         Attorney for the Debtor(s)
                                                                                                                         Kenneth A. Nathan P39142
                                                                                                                         Nathan Zousmer, P.C.
                                                                                                                         29100 Northwestern Hwy., Suite 260
                                                                                                                         Southfield, MI 48034
                                                                                                                         (248) 351-0099

 Agreed:         /s/ Kevin Roland Iott                                                                                   /s/ Laura Sue Iott
                 Kevin Roland Iott                                                                                       Laura Sue Iott
                 Debtor                                                                                                  Debtor



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                                                         UNITED STATES BANKRUPTCY COURT
                                                           EASTERN DISTRICT OF MICHIGAN

                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments


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over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.
                                                                              Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
 Kenneth A. Nathan P39142                                                                 X /s/ Kenneth A. Nathan                     March 19, 2009
Printed Name of Attorney                                                                    Signature of Attorney                     Date
Address:
29100 Northwestern Hwy., Suite 260
Southfield, MI 48034
(248) 351-0099


                                                                               Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.
 Kevin Roland Iott
 Laura Sue Iott                                                                           X /s/ Kevin Roland Iott                     March 19, 2009
 Printed Name(s) of Debtor(s)                                                               Signature of Debtor                       Date

 Case No. (if known)                                                                      X /s/ Laura Sue Iott                        March 19, 2009
                                                                                            Signature of Joint Debtor (if any)        Date




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                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
             Kevin Roland Iott
 In re       Laura Sue Iott                                                                                     Case No.
                                                                                             Debtor(s)          Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      March 19, 2009                                                      /s/ Kevin Roland Iott
                                                                                Kevin Roland Iott
                                                                                Signature of Debtor

 Date:      March 19, 2009                                                      /s/ Laura Sue Iott
                                                                                Laura Sue Iott
                                                                                Signature of Debtor




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                       American Express
                       P.O. Box 650448
                       Dallas, TX 75265-0448


                       Cabelas Club Visa
                       P.O. Box 82575
                       Lincoln, NE 68501-2575


                       Catherine A. Riesterer, Esq.
                       Cooper & Riesterer, PLC
                       7960 Grand River Road
                       Suite 270
                       Brighton, MI 48114


                       Chase Visa
                       Cardmember Service
                       P.O. Box 94014
                       Palatine, IL 60094-4014


                       Consultants Lab
                       3170 W. Cantrol
                       Toledo, OH 43606


                       Consumers Energy
                       Lansing, MI 48937-0001



                       Fifth Third Bank
                       c/o Laurie J. Pangle
                       Spengler Nathanson
                       Four SeaGate, Suite 400
                       Toledo, OH 43604-2622


                       Flower Hospital
                       1801 Richard Road
                       Toledo, OH 43607


                       GMAC
                       P.O. Box 9001951
                       Louisville, KY 40290-1951


                       Greenstone FCS
                       15615 S. Telegraph Road
                       Monroe, MI 48161



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                   Hudson Township
                   08755 Huffman Lake Road
                   Elmira, MI 49730


                   John Deere Credit
                   P.O. Box 6600
                   Johnston, IA 50131-6600


                   Key Equipment Finance
                   Apex Commercial, LLC
                   1120 W. Lake Cook Road
                   Suite A
                   Buffalo Grove, IL 60089


                   King,   Patrick
                   Kerr,   Roxanne
                   25360   Birchwood Dr.
                   Novi,   MI 48374


                   Larocca, Benjamin and Cynthia
                   5219 Jeffs Doty Road
                   Ottawa Lake, MI 49267


                   Larocca, Randal and Kimberly
                   15106 Bentwood
                   Petersburg, MI 49270


                   Lenawee County Treasurer
                   301 N. Main Street
                   Old Courthouse
                   1st Floor
                   Adrian, MI 49221


                   Monroe Bank & Trust
                   102 E. Front Street
                   Monroe, MI 48161


                   Posey Lake Estates, LLC
                   5670 Sylvania-Petersburg Road
                   Petersburg, MI 49270


                   Toledo Hospital
                   P.O. Box 630346
                   Cincinnati, OH 45263-0346



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                   Toledo Radiological
                   4841 Monroe Street
                   Suite 103
                   Toledo, OH 43623


                   Vengroff, Williams and Associates, Inc.
                   Attn: Erich Jones
                   P.O. Box 4155
                   Sarasota, FL 34230-4155


                   Wells Fargo Financial Bank
                   P.O. Box 98791
                   Las Vegas, NV 89193-8791


                   Wettle, Brent and Heather
                   c/o Michael J. Spiros
                   8160 Secor Road
                   Box 336
                   Lambertville, MI 48144




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